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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

BERNARD MIMS,

         Plaintiff,
                                                       Case No. 20-cv-347
    v.

PAYTON MICHAUD,

         Defendant.


                             JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case without prejudice.




         /s/                                             11/6/2020
         Peter Oppeneer, Clerk of Court                        Date
